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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA


   REVENUE BASED FINANCE
   COALITION,

                Plaintiff,
                                             Civil Action No. ____________
      v.

  CONSUMER FINANCIAL
  PROTECTION BUREAU; and ROHIT
  CHOPRA, in his official capacity as
  Director of the Consumer Financial
  Protection Bureau,

                Defendants.


                                     COMPLAINT

           1.   Plaintiff Revenue Based Finance Coalition (“RBFC”) brings this action

  for declaratory and injunctive relief against Defendants Consumer Financial

  Protection Bureau (“CFPB” or the “Bureau”) and Rohit Chopra in his official capacity

  as the Director of the CFPB.     Plaintiff RBFC challenges the CFPB’s final rule

  amending the Equal Credit Opportunity Act (“ECOA”) regulations that implement

  Section 1071 of the Dodd-Frank Wall Street Reform and Consumer Protection Act

  (“Dodd-Frank”), see 88 Fed. Reg. 35,150 (May 31, 2023). That rule violates the

  Adnistrative Procedure Act (“APA”).
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                                    INTRODUCTION

        2.     This case concerns sales-based financing, a form of commercial financing

  that provides a distinct alternative to loans and other forms of credit.1 Sales-based

  financing transactions have a basic structure: a small business receives a lump-sum

  payment in exchange for the right to receive a percentage of the small business’s

  future sales or income (e.g., future credit and debit card sales).

        3.     Sales-based financing provides capital for small businesses to grow and

  thrive. For more than two decades, sales-based financing has grown in popularity

  among small businesses due to its unique benefits. Sales-based financing provides

  flexibility to small businesses because the obligation to repay is conditioned on the

  business actually generating revenue. A business that does not generate revenue has

  no obligation to repay. Accordingly, sales-based financing providers emphasize a

  business’s ability to generate revenue through the sale of goods and services, not an

  individual’s credit score.

        4.     Critically, sales-based financing is not a form of credit. The relevant

  statute defines “credit” as involving a right to defer a payment obligation. See 15

  U.S.C. § 1691a(d).      Sales-based financing, however, involves a substantially

  contemporaneous exchange of value—i.e., rights to a percentage of revenue generated



  1 During the rulemaking process, the CFPB generally referred to “merchant cash

  advances” as the target of its regulation, but it also explained that merchant cash
  advances are a primary type of “sales-based financing.” The term “sales-based
  financing” has since become the widely adopted term for merchant cash advances,
  see, e.g., NY Fin. Serv. Law § 801(j), VA Code Ann. § 6.2-2228, Conn. Stat. P.A. 23-
  201(8), 10 CA Admin. Code § 900(28), and so RBFC refers to “sales-based financing”
  throughout.

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  by a business’s sale of goods and services in exchange for the sales-based financing

  provider’s lump sum payment. Sales-based financing also lacks the critical hallmark

  of loans and other forms of debt: an absolute obligation to repay amounts advanced

  to the borrower. Sales-based financing generally imposes no absolute repayment

  obligation. The business’s obligation to pay is contingent on actual revenue generated

  in the ordinary course of business. For these and other reasons, sales-based financing

  is analogous to factoring (i.e., the purchase of accounts receivable), which the CFPB

  and its predecessor historically recognized to be distinct from credit. Indeed, courts

  have repeatedly held that sales-based financing transactions are not loans.

        5.     Recently, and for the first time, the CFPB has arrived at the view that

  sales-based financing is “credit”—a misguided and unlawful determination that poses

  a near-existential threat to the sales-based financing market. Section 1071 of Dodd-

  Frank authorizes the CFPB to implement and enforce data collection and reporting

  obligations related to small business applications for “credit.” 15 U.S.C. § 1691c-2(b).

  This year, the Bureau promulgated a rule to implement Section 1071. Initially, the

  CFPB expressly stated that it planned not to cover sales-based financing under the

  regulation, given that sales-based financing is not “credit.” But in an about-face, the

  CFPB took the opposite view, and the Section 1071 Rule—which Plaintiff RBFC

  challenges here—now subjects sales-based financing to the full panoply of collection

  and reporting obligations that apply solely to financial institutions that extend credit

  to small businesses.




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        6.     Applying the Section 1071 Rule to sales-based financing is unlawful, for

  three main reasons:

        7.     First, the agency exceeded its authority under Section 1071 of Dodd-

  Frank by regulating sales-based financing as “credit.” The statute’s text, structure,

  purpose, and history make clear that sales-based financing transactions are not credit

  because they involve the contemporaneous exchange of value and lack the hallmarks

  of credit (i.e., loans and other forms of debt).   Since the Bureau’s Section 1071

  rulemaking authority extends to regulating only “credit,” its new rule is contrary to

  law as applied to sales-based financing.

        8.     Second, the CFPB’s new rule is based on impermissible considerations

  that have no grounding in the statute. The agency justified its final rule, in part,

  because regulating sales-based financing as credit would purportedly create a “level

  playing field” to the benefit of sales-based financing providers’ competitors. Although

  the statute identifies several other purposes that the Bureau may pursue when

  regulating, burdening one group of market participants to benefit that group’s

  competitors is decidedly not on that list.     To make matters worse, the CFPB

  completely failed to address RBFC’s comments highlighting these issues.

  Considering impermissible factors and ignoring material comments make the

  agency’s new rule arbitrary and capricious.

        9.     Third, the CFPB failed to consider the unique benefits that sales-based

  financing brings to the small business financing market, along with the attendant

  and immense costs of subjecting sales-based financing transactions to the Section



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  1071 Rule. Not only did the Bureau fail to consider these core implications of its new

  rule, but it again failed to address these concerns after RBFC raised them. These

  administrative missteps further render the CFPB’s new rule arbitrary and capricious

  as well.

         10.    For these and the reasons articulated below, RBFC respectfully requests

  that the Court (1) declare that the CFPB’s new rule is arbitrary, capricious, and

  contrary to law, and (2) set aside the rule on those grounds.

                                       PARTIES

         11.    Plaintiff RBFC is a non-profit corporation organized under the laws of

  the State of Florida, with its headquarters at 8200 NW 52nd Terrace, Ste. 200, Miami,

  Florida 33166.    RBFC is primarily comprised of companies that provide needed

  capital to small and medium-sized businesses through innovative methods, including

  sales-based financing. As a result, RBFC’s members are directly harmed by the Final

  Rule. See infra section IV. RBFC was formed to bring companies together to advocate

  on various issues related to non-bank commercial finance. RBFC is committed to

  educating legislators, policymakers, regulators, and the courts on the differences

  between sales-based financing and loans.

         12.    Defendant CFPB is an agency of the United States. 12 U.S.C. § 5491(a).

  The CFPB is tasked with implementing and enforcing a large body of financial

  consumer protection laws, including Section 1071 of Dodd-Frank.           Using that

  authority, the CFPB promulgated the regulation at issue here.

         13.    Defendant Rohit Chopra is the Director of the CFPB. Director Chopra

  is sued in his official capacity.
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                              JURISDICTION AND VENUE

        14.       This action arises under the Constitution and the APA. U.S. Const. Art.

  III, § 2; 5 U.S.C. §§ 701–706. The Court has subject matter jurisdiction pursuant to

  28 U.S.C. §§ 1331 and 1346(a).

        15.       The Court has authority to grant declaratory relief pursuant to the

  Declaratory Judgment Act, 28 U.S.C. § 2201, and injunctive relief pursuant to the

  APA, 5 U.S.C. §§ 702, 706(2), the All Writs Act, 28 U.S.C. § 1651, and the Court’s

  inherent equitable powers.

        16.       Venue is proper in this District because Defendant CFPB is a United

  States agency and Defendant Chopra is sued in his official capacity, and because

  Plaintiff RBFC’s principal place of business is in this District.        See 28 U.S.C.

  § 1391(e)(1).

                                FACTUAL ALLEGATIONS

        Sales-Based Financing

        A.        Creation and Growth of Sales-Based Financing

        17.       Sales-based financing was created as an alternative form of financing in

  the late 1990s. These transactions expanded significantly in volume and number

  after 2008, when banks started favoring large business loans with long repayment

  periods and began adopting stricter lending policies (e.g., higher credit score




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  requirements).2 This shift left many small businesses with insufficient access to

  working capital.

        18.    Sales-based financing is a substantially contemporaneous exchange of

  value—i.e., rights to a percentage of revenue generated by a business’s sale of goods

  and services in exchange for the sales-based financing provider’s lump sum payment.

  Thus, at the time of the transaction, the business receives the discounted value of the

  future revenue and the sales-based financing provider receives a right to a portion of

  the business’s future revenue.

        19.    Sales-based financing is considerably faster and has a less onerous

  application process than a loan.     The sales-based financing application process

  primarily focuses on past business performance to assess whether a business is

  forecasted to continue to generate the expected revenue. This limited focus means

  that review and funding generally take only a few days.

        20.    Given the emphasis on business performance, credit ratings are much

  less important, which can allow businesses with poor or limited credit histories to

  obtain capital through sales-based financing.

        21.    For example, in a recent survey, sales-based financing proved to have

  the highest approval rates when compared to other types of financing.3




  2 See Bryant Park Capital, Merchant Cash Advance / Small Business Financing
  Industry Report 8 (2016), https://bryantparkcapital.com/wp-content/uploads/2018/06/
  BPC-MCA-SMB-Financing-Industry-Report.pdf.
  3  See Fed Small Business, Small Business Credit Survey 17                     (2023),
  https://www.fedsmallbusiness.org/survey/2023/report-on-employer-firms.

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          22.   Sales-based financing providers also generally offer financing in smaller

  amounts than lenders, making sales-based financing particularly appealing to small

  businesses.

          23.   Because of these benefits, sales-based financing is an especially

  attractive method of alternative financing for small businesses, since banks are often

  unable to profitably underwrite smaller financing amounts at speeds that small

  businesses need.

          24.   There are more than 100 sales-based financing providers in the United

  States today.

          B.    Sales-Based Financing Differs from Loans and Other Forms of
                Credit in Meaningful Ways.

          25.   In various respects, sales-based financing is fundamentally different

  from loans and other forms of credit.

          26.   Unlike lenders, sales-based financing providers do not charge interest.

  Instead, sales-based financing providers apply a discount to the purchased amount of

  future revenue to determine the amount of the lump-sum amount paid to the

  receiving business.   For example, if a sales-based financing provider purchased

  $125,000 of future receivables from a business at a discounted rate of $100,000, the

  business would receive a $100,000 lump sum, and $125,000 of the business’s future

  revenues would be earmarked as already belonging to the sales-based financing

  provider. Unlike interest, which can usually be minimized by repaying a loan faster,

  the cost of a sales-based financing transaction to the business does not change over

  time.


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         27.   Also unlike loans, sales-based financing generally does not involve a

  fixed repayment term. Because a business’s payment obligation is contingent on

  sales of goods and services in the ordinary course, the speed with which the business

  repays the sales-based financing provider depends on future sales volume.

         28.   Because repayment turns on future revenue, sales-based financing

  providers are not protected against the risk of business default. In other words, the

  sales-based financing provider may receive no payment if the business does not

  generate sufficient receipts in the ordinary course of business.       The sales-based

  financing provider assumes the risk that the business will generate the revenue more

  slowly than anticipated, or not at all. Sales-based financing thus involves equity-like

  risk for the sales-based financing provider.

         29.   Indeed, state and federal courts across multiple jurisdictions have

  repeatedly held that sales-based financing does not create absolute repayment

  obligations, and thus cannot be considered a type of loan. See, e.g., Womack v. Cap.

  Stack, LLC, No. 1:18-CV-04192 (ALC), 2019 WL 4142740, at *7 (S.D.N.Y. Aug. 30,

  2019) (collecting cases).

         30.   Given its distinct characteristics, sales-based financing is not a “loan” or

  “credit.”

         31.   Instead, sales-based financing functions like nonrecourse factoring

  arrangements. In nonrecourse factoring, a business sells an account receivable to a

  financing company (referred to as a “factor”) at a discount that reflects the risk that

  the account debtor will be unable to pay due to insolvency or bankruptcy. As part of



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  this transaction, the business transfers the risk of nonpayment to the factor, a

  transfer that is an essential distinguishing characteristic in determining that a

  transaction is not “credit.” Regulation B (which implements ECOA) has long provided

  that factoring is “not subject to” ECOA because it involves the “purchase of accounts

  receivable.” See 12 C.F.R. pt. 1002, supp. I, § 1002.9(a)(3)-3.

        32.    Similarly, sales-based financing involves the purchase of accounts

  receivable and a transfer of risk from the small business to the sales-based financing

  provider. By agreeing that the business’s obligation to repay is contingent on the

  business’s future revenue, the business obtains important working capital and

  transfers to the sales-based provider the risk that the business will fail to produce

  sufficient revenue from operations.

        33.    Accordingly, sales-based financing has historically not been regulated

  as “credit” under ECOA or Regulation B.

        34.    The sales-based financing industry grew and developed in reliance on

  that regulatory backdrop.

        Statutory and Regulatory Background

        A.     Equal Credit Opportunity Act

        35.    In 1974 and 1976, Congress enacted, and then amended and expanded,

  the Equal Credit Opportunity Act (“ECOA”) to “require that financial institutions and

  other firms engaged in the extension of credit make that credit equally available to

  all creditworthy customers” “with fairness, impartiality, and without discrimination”

  on the basis of several protected characteristics. Pub. L. 93-495, § 502, 88 Stat. 1521

  (codified as amended at 15 U.S.C. § 1691 et seq.).

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        36.    These provisions apply only to “creditors” engaged in extending,

  renewing, or continuing “credit.” 15 U.S.C. §§ 1691(a), 1691a(e).

        37.    The statute defines “credit” as “the right granted by a creditor to a

  debtor to defer payment of debt or to incur debts and defer its payment or to purchase

  property or services and defer payment therefor.” Id. § 1691a(d).

        38.    The Board of Governors of the Federal Reserve was originally tasked

  with “prescrib[ing] regulations to carry out the purposes of” ECOA. Pub. L. 93-495,

  § 503, 88 Stat. 1522; 15 U.S.C. § 1691b(a).

        39.    The Board promulgated a regulation implementing ECOA, often called

  “Regulation B,” see 40 Fed. Reg. 49,298 (Oct. 22, 1975), which the Board amended

  periodically, see, e.g., 68 Fed. Reg. 13,144 (Mar. 18, 2003). Since the Board’s initial

  1975 regulation, Regulation B has mirrored the definition of “credit” in ECOA. See

  12 C.F.R. § 202.3(h) (1976).

        40.    Regulation B defined “credit” without material variation from how that

  term is defined in ECOA: “Credit means the right granted by a creditor to an

  applicant to defer payment of a debt, incur debt and defer its payment, or purchase

  property or services and defer payment therefor.” 12 C.F.R. § 1002.2(j).

        B.     Dodd-Frank Wall Street Reform and Consumer Protection Act

               1.     Creation of the CFPB

        41.    In 2010, Congress enacted the Dodd-Frank Wall Street Reform and

  Consumer Protection Act (“Dodd-Frank”), creating the CFPB and transferring

  regulatory authority under ECOA to that newly minted agency. See Pub. L. 111-203,

  §§ 1011, 1085, 124 Stat. 1376, 1964, 2083 (2010); see also 15 U.S.C. § 1691b(a).

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        42.    The CFPB’s structure was novel in two ways. First, Congress prevented

  the President from removing the agency’s sole director without cause, see 12 U.S.C.

  § 5491(c)(3), a restriction that the Supreme Court later found unconstitutional, see

  Seila Law LLC v. CFPB, 140 S. Ct. 2183 (2020).

        43.    Second, Congress allowed the CFPB to circumvent the “annual

  appropriations process for funding” by “receiv[ing] funding directly from the Federal

  Reserve” based on the “amount that the Director deems ‘reasonably necessary to

  carry out’ the agency’s duties.” Seila Law, 140 S. Ct. at 2193–94 (quoting 12 U.S.C.

  § 5497(a)(1)).

        44.    This unique funding structure violates the Constitution’s fundamental

  prescription that “[n]o money shall be drawn from the Treasury [without]

  Appropriations made by Law,” U.S. Const., art. I, § 9, cl. 7, and is thus also

  unconstitutional, see Cmty. Fin. Servs. Ass’n of Am., Ltd. (“CFSA”) v. CFPB, 51 F.4th

  616 (5th Cir. 2022), cert. granted, 143 S. Ct. 978 (2023).

               2.     Section 1071 of Dodd-Frank

        45.    In addition to establishing the CFPB, Dodd-Frank also amended ECOA.

  In particular, Section 1071 of Dodd-Frank imposed new requirements—on financial

  institutions that offer or extend credit to small businesses—to collect and report to

  the CFPB data related to small business credit applications and applicants, including

  “women-owned, minority-owned, or small business[es].” 15 U.S.C. § 1691c-2(b), (f).

        46.    Dodd-Frank also authorized the CFPB to “carry out, enforce, and

  compile data pursuant to [Section 1071].” Id. § 1691c-2(g)(1).



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         47.    By its plain terms, Section 1071 applies only to “application[s] … for

  credit” from “women-owned, minority-owned, or small business[es].” Id. § 1691c-2(b)

  (emphasis added).

         48.    In addition to defining “women-owned” and “minority-owned,” Section

  1071 defines “small business” as businesses that are “independently owned and

  operated and which [are] not dominant in [their] filed of operation.” Id. § 632(a)(1);

  see also id. § 1691c-2(h)(2).

         49.    Section 1071 adopts the same definition of “credit” that was already

  articulated in ECOA. See Dodd-Frank § 1071(a) (adding Section 1071 to ECOA, i.e.,

  subchapter IV of title 15); 15 U.S.C. § 1691a(a) & (d) (defining “credit” “for the

  purpose of … subchapter [IV of title 15]”).

         50.    In other words, Section 1071’s obligations—and the CFPB’s authority to

  implement that section—do not extend beyond ECOA’s preexisting understanding of

  “credit,” i.e., situations involving the right to defer the payment of a debt.

         51.    Section 1071 also repeatedly uses the term “loan” in a manner that

  informs and limits the meaning of “credit.”

         52.    For example, Section 1071 is titled “[s]mall business loan data

  collection,” 15 U.S.C. § 1691c-2 (emphasis added), and it requires covered financial

  institutions to “compile and maintain … a record of the information provided by any

  loan applicant,” id. § 1691c-2(e)(1) (emphasis added)).




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        CFPB’s Section 1071 Rulemaking

        A.     The CFPB Gathered No Cost Data Specific to Sales-Based
               Financing Providers Before Section 1071’s Implementation.

        53.    During the decade following Dodd-Frank’s enactment, and in

  anticipation of a rule that would implement Section 1071, the CFPB gathered

  information about small business financing in the United States.

        54.    These efforts included requests for information,4 a symposium on

  Section 1071’s implementation,5 the convening of a Small Business Advisory Review

  Panel pursuant to the Small Business Regulatory Enforcement Fairness Act of 1966

  (“SBREFA Panel”),6 a survey of one-time costs of compliance,7 and other stakeholder

  outreach.

        55.    However, during this period, the CFPB stated that it did not plan to

  “cover … merchant cash advances” under the eventual Section 1071 rule.8

        56.    As a result, the Bureau collected little to no data on the costs that would

  be imposed on sales-based financing providers and small businesses using sales-



  4 See 82 Fed. Reg. 22,318 (May 15, 2017); 85 Fed. Reg. 46,600 (Aug. 3, 2020).

  5 See CFPB, Symposium: Section 1071 of the Dodd-Frank Act (Nov. 6, 2019), https://
  www.consumerfinance.gov/about-us/events/archive-past-events/cfpb-symposium-
  section-1071-dodd-frank-act/.
  6 See CFPB, Small Business Advisory Review Panel for Potential Small Business
  Lending Data Collection Rulemaking, https://www.consumerfinance.gov/rules-
  policy/small-business-review-panels/potential-small-business-lending-data-
  collection-rulemaking/ (accessed Dec. 21, 2023).
  7 See CFPB, Small Business Lending Rulemaking,

  https://www.consumerfinance.gov/1071-rule/ (accessed Dec. 21, 2023).
  8 CFPB, Final Report of the Small Business Review Panel on the CFPB’s Proposals
  Under Consideration for the Small Business Lending Data Collection Rulemaking 8
  (2020), https://files.consumerfinance.gov/f/documents/cfpb_1071-sbrefa-report.pdf.

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  based financing in the event that sales-based financing was to become subject to

  regulation under Section 1071.

        B.     The Proposed Section 1071 Rule

        57.    In late 2021, the Bureau published a notice of, and requested public

  comment on, proposed regulations implementing Section 1071. See Small Business

  Lending Data Collection Under the Equal Credit Opportunity Act (Regulation B), 86

  Fed. Reg. 56,356 (Oct. 8, 2021) (“Proposed Rule”).

        58.    The Proposed Rule would effectuate Section 1071 by requiring the

  collection of various types of data related to small business credit applications. See

  id. at 56,356–57.

        59.    The agency claimed that the Proposed Rule would not change the

  “existing definition of credit” as a way of “foster[ing] consistency with existing

  Regulation B.” Id. at 56,392.

        60.    Under that existing definition, the CFPB had never previously

  considered sales-based financing to be “credit,” and as just discussed, the Bureau had

  explicitly stated that it planned not to subject sales-based financing to regulation as

  “credit” under the Section 1071 rule.

        61.    But in the Proposed Rule, the Bureau pivoted. It proposed a more

  “expansive product coverage to adequately capture small businesses’ experiences with

  obtaining financing” by treating sales-based financing as a type of “credit” “within

  the scope of this Proposed Rule.” Id. at 56,357, 56,403–04 (emphasis added).

        62.    As to the actual meaning of “credit,” the agency thought that “the

  statutory term … in ECOA is ambiguous as to whether it covers sales-based financing
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  products like [sales-based financing]” and that “existing Regulation B offers no

  further clarity.” Id. at 56,406. Based on the agency’s mistaken view that sales-based

  financing involves “the right to defer repayment … over time,” and mistaken

  conclusion that sales-based financing transactions are “underwritten and function

  like a typical loan,” the CFPB thought it was a “better reading of the term ‘credit’” to

  “encompas[s] [sales-based financing].” Id.

        63.     The Bureau also included sales-based financing in the Proposed Rule

  because it thought doing so would avoid “disproportionately burden[ing] … lenders

  who do not offer such products” by “creat[ing] a more level playing field across

  financial institutions that provide cash flow financing to small businesses.” Id. at

  56,404, 56,406.    The Bureau also expressed concern that excluding sales-based

  financing from the rulemaking “would create unequal regulatory burdens for entities

  that may compete for the same small business clients.” Id. at 56,405 (emphasis

  added).     Unsurprisingly, those advocating for treating sales-based financing as

  “credit” were not sales-based financing providers.

        64.     Under the Proposed Rule, many types of financing similar to sales-based

  financing—including factoring, leases, and trade credit—would not be considered

  credit. See id. at 56,358.

        65.     Interested parties could submit comments on this and other aspects of

  the Proposed Rule through January 6, 2022. Id. at 56,356.

        C.      RBFC Comments on the Proposed Rule

        66.     Because the Proposed Rule would subject RBFC’s members who provide

  sales-based financing to Section 1071 collection and reporting obligations, RBFC
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  submitted extensive comments on its members’ behalf. See RBFC, Comment Letter

  on Proposed Rulemaking on Small Business Lending Data Collection Under the

  Equal         Credit   Opportunity      Act    (Regulation     B)    (Jan.    6,   2022),

  https://www.regulations.gov/comment/CFPB-2021-0015-1719 (“Comment Letter”)

  (attached as Exhibit A).

          67.      RBFC advanced multiple points in its Comment Letter that are relevant

  to this action.

                   1.    Sales-Based Financing Is Not “Credit” Under ECOA.

          68.      RBFC explained that under ECOA, “credit” refers to “the right … to

  defer the payment of debt.” Id. at 3–4.

          69.      Sales-based financing, however, is not credit because it does not involve

  the deferral of a payment obligation.         Rather, sales-based financing involves a

  substantially contemporaneous exchange of value whereby the sales-based financing

  provider “purchase[s] the right to a specific portion of a merchant’s future proceeds,

  up to an agreed-upon limit.” Id. at 4.

          70.      RBFC also pointed out that while the plain meaning of “debt”—a term

  that is included in the definition of “credit”—connotes a liability or obligation to repay

  a certain sum of money, sales-based financing generally involves “no liability or

  obligation to make payment where future receipts do not materialize.” Id. at 4–5.

          71.      RBFC explained that Section 1071 applies to the collection of “loan

  data,” and that sales-based financing transactions are not loans. Like debt, a loan

  typically involves an absolute obligation to repay a specific amount. Sales-based

  financing, by contrast, does not involve an absolute obligation to repay, and sales-
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  based financing providers bear the risk of the recipient’s business failing. Id. at 6–8;

  see supra Section I. RBFC pointed out that sales-based financing transactions “also

  lack other signature characteristics of loans, including interest rates and finite

  payment timelines.” Id. at 6.

               2.     Benefitting Sales-Based Financing Competitors Is Not a
                      Permissible Statutory Purpose.

        72.    RBFC also highlighted the Proposed Rule’s impermissible focus on

  benefitting sales-based financing competitors.

        73.    The Proposed Rule justified sales-based financing inclusion, in part, to

  “create a more level playing field across financial institutions that provide cash flow

  financing to small businesses.” 86 Fed. Reg. at 56,406.

        74.    RBFC also explained that ECOA limits the purpose of regulations under

  Section 1071 to “facilitat[ing] enforcement of fair lending laws” and identifying small

  business needs. Comment Letter at 19. Those purposes do not, however, include the

  Bureau’s justification for regulating sales-based financing providers to benefit their

  competitors. Id.

               3.     Treating Sales-Based Financing as Credit Would Harm
                      Small Businesses by Imposing Heavy Costs on Sales-Based
                      Financing.

        75.    Although the Proposed Rule recognized some benefits from sales-based

  financing, RBFC underscored these and more: sales-based financing is faster, more

  flexible, and simpler to obtain than loans; sales-based financing generally has higher

  approval rates; sales-based financing is available in smaller amounts than traditional




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  forms of financing; and sales-based financing is more accessible for small businesses

  who may have difficulty obtaining credit. Id. at 15.

        76.    RBFC also pointed to the many costs sales-based financing providers

  would incur if sales-based financing were regulated as “credit” under the Section 1071

  rule: Sales-based financing providers would need to undergo costly programming

  upgrades and adjustments, including hiring more employees to collect and report the

  data required by Section 1071. Sales-based financing providers would necessarily

  incur these and other additional costs as tracking such data “is simply not something

  the industry has ever done.” Id. at 16.

        77.    For small sales-based financing providers in particular, RBFC pointed

  out that “[t]hese burdensome costs” could “potentially forc[e] them to leave the

  industry altogether.” Id. at 16, 18.

        78.    RBFC further explained how imposing Section 1071 collection and

  reporting obligations on sales-based financing providers would create costs

  ultimately borne by small businesses that rely on sales-based financing. Id. at 16.

        79.    The increased obligations could delay the application process and limit

  small businesses’ ability to obtain urgent financing; higher financing costs would pass

  through to the small businesses that Section 1071 is designed to benefit; and small

  businesses would ultimately lose access to a critical form of financing if sales-based

  financing providers were unable to remain in the market. Id. at 16–18.




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        80.    RBFC relatedly explained that the Bureau had failed to appreciate the

  costs to sales-based financing providers, in part, because the data it relied on was

  inadequate. See id. at 17–18.

        81.    The Bureau had largely relied on a One-Time Cost Survey in 2020 to

  justify the cost assumptions undergirding the Proposed Rule. See id. at 20; see also

  Proposed Rule at 56,547–48. In this survey, the Bureau sought voluntary responses

  detailing the “one-time costs to prepare to collect and report data.” 86 Fed. Reg. at

  56,377.

        82.    Yet, as RBFC pointed out, the CFPB was proposing not to cover sales-

  based financing at the time of the survey, and sales-based financing providers had

  never been regulated under ECOA or Section 1071. As such, there was no reason for

  sales-based financing providers to respond to the survey, nor was it clear whether the

  Bureau had solicited any responses from sales-based financing providers.           See

  Comment Letter at 21.

        83.    Accordingly, RBFC expressed concern that “the Bureau lacks any cost

  data whatsoever for [sales-based financing].” Id.

        D.     The Final Rule

        84.    On May 31, 2023, the Bureau published its final rule implementing

  Section 1071. See Small Business Lending Under the Equal Credit Opportunity Act

  (Regulation B), 88 Fed. Reg. 35,150 (“Final Rule”).

        85.    For purposes of this action, the Final Rule did not materially differ from

  the Proposed Rule.



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         86.    Under the Final Rule, “covered financial institutions” must collect and

  report specific data related to “small business” applications for “covered credit

  transactions.” Id. at 35,151.

         87.    The Final Rule defines “covered financial institution” as a financial

  institution “that originated at least 100 covered credit transactions for small business

  in each of the two preceding calendar years.” Id. at 35,329 (codified at 12 C.F.R.

  § 1002.105(b)).

         88.    The Final Rule also defines “covered credit transactions” as one “that

  meets the definition of … credit under existing Regulation B,” id. at 35,151 (emphasis

  added), i.e., “a right … to defer payment of a debt,” 12 C.F.R. § 1002.2(j); see also Final

  Rule at 35,352 (codified at 12 C.F.R. § 1002.104) (defining “covered credit transaction”

  as “an extension of credit that is not” a trade credit, home mortgage, insurance

  premium financing, public utilities credit, securities credit, or incidental credit).

         89.    The Final Rule also explains that “a business is a small business if its

  gross annual revenue for its preceding fiscal year is $5 million or less,” with inflation-

  indexed adjustments to that threshold every five years as needed. Final Rule at

  35,258 (codified at 12 C.F.R. § 1002.106(b)).

         90.    Despite RBFC’s Comment Letter, the Final Rule treats sales-based

  financing as “credit transactions … within the scope of the rule.” Final Rule at

  35,151; see also id. at 35,220 & n.359 (explaining that merchant cash advances fall

  with “an umbrella term often referred to as ‘sales-based financing,’ and explaining

  that all sales-based financing products “are covered by the definition of ‘credit’”).



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        91.    The Final Rule considers sales-based financing to be a type of “credit”

  even while acknowledging that sales-based financing does not generally fall within

  the scope of state lending laws. See id. 35,220.

        92.    The Bureau rejected RBFC’s comments regarding the statutory

  meaning of “credit” because, “based on [the Bureau’s] review of typical [sales-based

  financing] arrangements and its expertise,” it thought sales-based financing involved

  a deferred payment obligation rather than a “substantially contemporaneous

  exchange of value.” Id. at 35,223.

        93.    The agency’s policy justifications for doing so mirrored the Proposed

  Rule. See id. at 35,223–24. The Bureau placed great emphasis, for example, on the

  fact that sales-based financing represents a burgeoning market not covered by

  existing regulations—suggesting that the absence of regulation was itself a

  justification for the Final Rule’s expansive approach. See id. 35,220.

        94.    These policy justifications also continued to include the Bureau’s

  “belie[f] that including [sales-based financing] will create a more level playing field

  across financial institutions.” Final Rule at 35,224. Yet the Final Rule neither

  acknowledged nor responded to RBFC’s comments that competitor benefit is an

  impermissible statutory purpose under ECOA.

        95.    The Bureau did briefly recognize RBFC’s concerns that “covering

  merchant cash advances is contrary to public policy because doing so will negatively

  impact access to financing and because [sales-based financing] benefit business.”




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  Final Rule at 35,222. But the Final Rule did not grapple with or even address those

  concerns.

         96.    The Final Rule also did not address RBFC’s request for clarification as

  to whether the One-Time Cost Survey (and thus the Final Rule’s cost-benefit

  projections) included data from sales-based financing providers.

         97.    The Final Rule took effect on August 29, 2023, id. at 35,533, though it

  was subsequently enjoined, see infra section III.E. The Final Rule has staggered

  compliance deadlines. Specifically, financial institutions originating 2,500, 500, and

  100 covered credit transactions during the last two years must begin to comply with

  the Final Rule by October 1, 2024, April 1, 2025, and January 1, 2026, respectively.

  See id.

         E.     Subsequent Litigation

         98.    The Final Rule has since been preliminarily enjoined by two federal

  district courts.

         99.    In the Southern District of Texas, a group of banking organizations and

  one Texas bank secured a preliminary injunction against the Final Rule’s

  enforcement because they were likely to succeed on the merits of their claim that the

  CFPB’s funding structure was unconstitutional. See Tex. Bankers, No. 7:23-cv-00144

  (S.D. Tex. July 31, 2023) (order granting preliminary injunction in part and denying

  in part). The district court initially granted relief only as to the plaintiffs and their

  members. Several parties intervened and requested that the district court expand

  the scope of the injunction to include non-parties. The district court granted that

  request, enjoining the Bureau from enforcing the Final Rule against “all covered
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  financial institutions.” See Tex. Bankers, No. 7:23-cv-00144 (S.D. Tex. Oct. 26, 2023)

  (emphasis added).

        100.   In the Eastern District of Kentucky, a similar coalition of Kentucky-

  based plaintiffs secured a nationwide preliminary injunction that was not limited to

  the parties before the court. See Monticello Banking Co., No. 6:23-cv-00148 (E.D. Ky.

  Sept. 14, 2023).

        101.   However, the injunctions in Texas Bankers and Monticello Banking will

  ultimately dissolve if the Supreme Court issues its decision in CFSA in favor of the

  CFPB. See supra ¶ 44. The Texas Bankers injunction requires that if the Supreme

  Court rules for the CFPB in CFSA, the Final Rule’s implementation deadlines must

  extend to compensate for the duration of the preliminary injunction.

        102.   RBFC brings this suit to adequately represent its own interests (and

  thus the interests of its members) on the merits of its claims. Those include claims

  that are specific to sales-based financing and that are independent of the

  constitutional claim that supports the preliminary injunctions in Texas Bankers and

  Monticello Banking.

        RBFC’s Members Will Be Subject to the Final Rule

        103.   Although the Final Rule does not obligate RBFC’s members to comply

  until October 2024 at the earliest, its members have already begun incurring

  substantial costs in preparation for the scheduled compliance deadlines.

        104.   For example, RBFC member Everest Business Funding (“Everest”) is

  directly impacted by the Final Rule.



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           105.   Everest provides sales-based financing to a host of small businesses as

  defined under ECOA. See 15 U.S.C. § 632(a) (defining “small business concern” to be

  any business that is “independently owned and operated and which is not dominant

  in its field of operation”); 12 C.F.R. § 1002.106(b)(1) (further defining “small business”

  as a business with “gross annual revenue … for its preceding fiscal year [at] $5

  million or less”).

           106.   As noted above, the CFPB has determined that sales-based financing

  transactions are “covered credit transactions” within the meaning of the Final Rule.

           107.   Because Everest originated at least 100 “covered credit transactions” for

  small businesses during the two preceding calendar years, it is a “covered financial

  institution” under the Final Rule and thus subject to the Rule’s information collection

  and reporting obligations. See 12 C.F.R. § 1002.105(b).

           108.   And because Everest originated over 2,500 “covered credit transactions”

  for small businesses during the preceding two calendar years, it will be subject to and

  must comply with the Final Rule by October 1, 2024, absent judicial relief. See Final

  Rule at 35,150.

           109.   Everest has also already incurred and will incur significant costs as a

  result of the Final Rule, including but not limited to costly programming upgrades,

  acquiring new computer software systems, and training existing and/or newly hired

  employees to handle reporting and auditing requirements. See also Comment Letter

  at 16.




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                                            CLAIMS

                 Count I: Violation of APA, 5 U.S.C. § 706(2)(C)
     (Final Rule Is Contrary to Law Because Sales-Based Financing Is Not
                      “Credit” Under Statute’s Definition)

        110.   RBFC incorporates by reference the preceding paragraphs of this

  Complaint as if fully set forth herein.

        111.   Section 1071 imposes certain data collection and reporting requirements

  for “any application to a financial institution for credit for women-owned, minority-

  owned, or small business.” 15 U.S.C. § 1691c-2(b) (emphasis added).

        112.   ECOA supplies the relevant definition of “credit.” It defines “credit” as

  “the right granted by a creditor to a debtor to defer payment of debt or to incur debts

  and defer its payment or to purchase property or services and defer payment

  therefor.” Id. § 1691a(d).

        113.   The text, structure, history, and purpose of Section 1071 confirm that

  sales-based financing does not qualify as “credit” within the meaning of the statute.

        114.   First, by its plain terms, ECOA’s definition of “credit” applies only where

  there exists a right to “defer” a payment obligation.      But sales-based financing

  involves a substantially contemporaneous exchange of value—i.e., rights to a

  percentage of revenue generated by a business’s sale of goods and services in

  exchange for the sales-based financing provider’s lump sum payment. See Shaumyan

  v. Sidetex Co., 900 F.2d 16, 18 (2d Cir. 1990) (explaining definition of “credit” under

  ECOA).

        115.   Second, ECOA’s definition of “credit” repeatedly uses the term “debt” to

  describe the payment obligation that has been deferred. See 15 U.S.C. § 1691a(d).

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  Even if sales-based financing involved deferred payment obligations, it does not

  involve “debt.” Prior to ECOA’s enactment and through today, “debt” has ordinarily

  referred to an enforceable liability for a fixed sum. See, e.g., Black’s Law Dictionary

  (4th ed. 1968) (“A sum of money due by certain and express agreement … where the

  amount is fixed and specific, and does not depend on any subsequent valuation to

  settle it.”). Sales-based financing transactions do not create “debt” because they

  impose no unconditional obligation to repay and no liability where future receipts do

  not materialize in the ordinary course of business.

        116.   Third, Section 1071 applies only in the context of “[s]mall business loan

  data collection,” 15 U.S.C. § 1691c (emphasis added), and it repeatedly uses “loan” in

  a manner that informs the meaning of “credit,” see, e.g., id. at § 1691c-2(e)(1)

  (requiring covered financial institutions to “compile and maintain … a record of the

  information provided by any loan applicant” (emphasis added)).            Sales-based

  financing transactions are not “loans” because the provider bears the risk of business

  failure, and there are no interest rates or finite payment timelines. Indeed, the

  Bureau acknowledged that sales-based financing is generally not covered under state

  lending laws. See supra ¶ 91.

        117.   Even though sales-based financing is not “credit” or “loans” within the

  meaning of Section 1071, the Bureau purported to regulate sales-based financing as

  “credit” under the Final Rule.




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        118.   The Bureau reasoned that “the statutory term ‘credit’ in ECOA is

  intentionally broad so as to include a wide variety of products,” including sales-based

  financing. Final Rule at 35,223.

        119.   The Bureau determined that “merchant cash advances and other sales-

  based financing are covered by the definition of ‘credit’” in the Final Rule, while, at

  the same time, it expressly excluded factoring. Final Rule at 35,223 (citing 12 C.F.R.

  § 1002.102(i) & 35,542). That definition merely incorporates the definition of “credit”

  in Regulation B, 12 C.F.R. § 1002.2(j), which in turn mirrors the definition of “credit”

  in ECOA, 15 U.S.C. § 1691a(d).

        120.   Because sales-based financing is not “credit” within the meaning of

  ECOA or Section 1071, the Bureau lacked the statutory authority to regulate sales-

  based financing as “credit” under the Final Rule. See supra ¶¶ 25–33, 68–71.

        121.   The Court should therefore declare that the Final Rule is invalid and set

  the Rule aside to the extent that it purports to apply to sales-based financing.

  See 5 U.S.C. § 706(2)(C) (court “shall … hold unlawful and set aside agency action”

  that is “in excess of statutory jurisdiction, authority, or limitations, or short of

  statutory right”).

               Count II: Violations of APA, 5 U.S.C. § 706(2)(A)
      (CFPB Based Rule on Improper Purpose, Failed to Consider Policy
    Downsides and Costs to Sales-Based Financing Regulation, and Failed to
                      Respond to Material Comments )

        122.   RBFC incorporates by reference the preceding paragraphs of this

  Complaint as if fully set forth herein.




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        123.   The Court must “hold unlawful and set aside agency action” that is

  “arbitrary [and] capricious.” 5 U.S.C. § 706(2)(A). The Final Rule is arbitrary and

  capricious in multiple respects.

        124.   First, the Final Rule is arbitrary and capricious because the Bureau

  relied on improper factors to justify its Rule.    The Bureau brought sales-based

  financing within the scope of the Rule to “level the playing field” between sales-based

  financing providers and their competitors.     See supra ¶¶ 63, 94.     Similarly, the

  Bureau justified its decision to regulate sales-based financing in part because it

  viewed that market as largely unregulated when compared to other financial

  products. See supra ¶ 93. But ECOA and Section 1071 were enacted to “facilitate

  enforcement of fair lending laws” and to ease access to credit, 15 U.S.C. § 1691c-2(a)—

  not to bolster entrenched interests by handicapping innovative providers of capital to

  small businesses.     Because imposing regulation in order to benefit industry

  competitors is not a “facto[r] which Congress … intended [the agency] to consider,”

  the Final Rule is arbitrary and capricious. E.g., Motor Vehicle Mfrs. Ass’n of U.S.,

  Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

        125.   Second, the Final Rule is arbitrary and capricious because the Bureau

  failed to adequately consider costs and benefits. For example, the Bureau failed to

  collect adequate cost data to estimate the economic impact of applying the Final Rule

  to sales-based financing, estimating one-time costs using a survey that yielded usable

  data from only seven non-depository institutions, none of which were sales-based

  financing providers. That is far from sufficient given the Bureau’s estimate that



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  “about 70 merchant cash advance providers” would be covered by the Final Rule. See

  Final Rule at 35,495.

           126.   Third, the Final Rule is arbitrary and capricious because the Bureau

  failed to respond to many of RBFC’s material comments. See Sierra Club v. EPA, 863

  F.3d 834, 838 (D.C. Cir. 2017) (“[I]n APA review, we will often find agency decisions

  arbitrary or capricious where the agency has failed to respond to major substantive

  comments.”). For example, although the Bureau acknowledged RBFC’s comments

  highlighting the many unique benefits of sales-based financing and warning of the

  heavy costs small businesses would ultimately bear, the Bureau never attempted to

  address those concerns or to weigh the serious costs of subjecting sales-based

  financing to regulation under Section 1071. See supra ¶¶ 75–79, 95.

           127.   The Court should therefore declare that the Final Rule is invalid and set

  the Rule aside to the extent that it purports to apply to sales-based financing. See 5

  U.S.C. § 706(2)(A) (court “shall … hold unlawful and set aside agency action” that is

  “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

  law”).

                    Count III: Violation of U.S. Const. Art. I, § 9
           (CFPB’s Funding Structure Violates the Appropriations Clause)

           128.   RBFC incorporates by reference the preceding paragraphs of this

  Complaint as if fully set forth herein.

           129.   The Appropriations Clause of the U.S. Constitution provides that “[n]o

  money shall be drawn from the Treasury, but in Consequence of Appropriations made

  by Law.” U.S. Const., Art. I, § 9, cl. 7.


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        130.   The Appropriations Clause’s “straightforward and explicit command”

  ensures Congress’s exclusive power over the federal purse. OPM v. Richmond, 496

  U.S. 414, 424 (1990). It guarantees that “[a]ny exercise of a power granted by the

  Constitution to one of the other branches of Government is limited by a valid

  reservation of congressional control over funds in the Treasury.” Id. at 425.

        131.   The CFPB’s “self-actualizing, perpetual funding mechanism” violates

  that requirement. CFSA, 51 F.4th at 638.

        132.   Rather than relying on annual appropriations for funding like most

  executive agencies, the Bureau “receives funding … outside the appropriations

  process through bank assessments,” Seila Law, 140 S. Ct. at 2194, by requisitioning

  from the Federal Reserve any amount “determined by the [CFPB] Director to be

  reasonably necessary to carry out” the Bureau’s functions, as long as that amount

  does not exceed 12 percent of the Federal Reserve’s “total operating expenses.” 12

  U.S.C. § 5497(a)(1)–(2).

        133.   Because the funding employed by the CFPB to promulgate the Final

  Rule was drawn through the Bureau’s unconstitutional funding scheme, the Rule is

  “contrary to constitutional right, power, [or] privilege” and must be held “unlawful

  and set aside.” 5 U.S.C. § 706(2)(B); see also CFSA, 51 F.4th at 643 (vacating the

  CFPB’s Payday Lending Rule “as the product of the Bureau’s unconstitutional

  funding scheme”).

                               PRAYER FOR RELIEF

        WHEREFORE, RBFC respectfully requests that the Court issue judgment in

  its favor and against Defendants and grant the following relief:
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        A.     Declare that the Final Rule is invalid and set aside the Rule as applied

  to sales-based financing because the Rule is contrary to the governing statute,

  arbitrary and capricious, and otherwise not in accordance with law, in violation of 5

  U.S.C. § 706, to the extent that it purports to regulate sales-based financing;

        B.     Declare that the Final Rule is invalid and set aside the Rule because it

  was promulgated using funding that violated the Constitution’s Appropriations

  Clause;

        C.     Grant Plaintiff recovery of its fees, costs, and expenses incurred in

  connection with this litigation, as authorized by 28 U.S.C. § 2412;

        D.     Award such other relief as the Court deems just and proper.



   December 26, 2023                          Respectfully submitted,

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